        Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 1 of 10




~~P~-.                                                                 PIR IN
                      UNITED STATES DISTRICT COURT
                                                                           MAY 0 7 2010
                     NORTHERN DI S TRI CT OF GEORGIA
                            ATLANTA DIVISION
                                                                                   l7ep uty Clergy
  KEVIN KIMMEL and RALPH
  KEYES, on their own behalf and on
  behalf of others similarly situated,

                  Plaintiff(s),                     CASE N O. :                                      Y




  VS.


  VENTU RE CONSTRUCTION
                                                   U1OCV138 -          -8
  COMPANY,

                  Defendant.

               COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff, KEVIN KIMMEL and RALPH KEYES , on their own behalf

  and on on behalf of those similarly situated ("Plaintiffs"), were employees of

  Defendant, VENTURE CONSTRUCTION COMPANY, ("Defendant" or

  "Venture"), and brings this action for unpaid overtime compensation,

  declaratory relief and other relief under the Fair Labor Standards Act, as

  amended, 29 U .S.C. § 216(b) (the "FLSA")

          I. NATURE OF SUIT

          The FLSA was passed by Congress in            1938 .    The principal

  congressional purpose in enacting the FLSA was to protect all covered




                                         2
   Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 2 of 10




workers from substandard wages and oppressive working hours, labor

conditions that are detrimental to maintenance of minimum standards of

living necessary for health, efficiency, and general well-being of workers .

Barrentine v. Arkansas-Best Freight System, Inc ., 450 U .S . 728, 739, 101

S .Ct. 1437, 1444 (1981) .     The liquidated damage provision of the FLSA

constitutes a congressional recognition that failure to pay statutory minimum

on time may be so detrimental to maintenance of minimum standard of

living necessary for health, efficiency, and general well-being of workers

and to the free flow of commerce, that double payment must be made in

event of delay in order to insure restoration of worker to that minimum

standard of well-being . Brooklyn v . Sav. Bank v. O'Neil, 324 U .S . 697, 707-

08, 65 S .Ct . 895, 902 (1945) .

1 . This action is brought under the FLSA to recover from Defendant

overtime compensation, liquidated damages, and reasonable attorneys' fees

and costs.

2 . This action is intended to include each and every construction

superintendent who worked for the Defendant nationwide at any time

within the past three (3) years .




                                       2
   Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 3 of 10




        II. PARTIES

3 . Plaintiff Kimmel, was a construction superintendent and performed

related activities for Defendants from approximately 1998 through May

2008.

4 . Plaintiff Keyes, was a construction superintendent and performed

related activities for Defendants for approximately twenty-one (21) years

through August 2009.

5 . Defendant, VENTURE CONSTRUCTION COMPANY, has its

American headquarters in Norcross, Georgia, therefore venue is proper in

the Northern District of Georgia, Atlanta Division, pursuant to 28 U .S .C. §



        III. JURISDICTION

6. This Court has jurisdiction over Plaintiffs' claims pursuant to 28

U.S .C. § 1337 and the FLSA .

7. The Court has the authority to grant declaratory relief pursuant to the

FLSA and the federal Declaratory Judgment Act ("DJA"), 28 U.S .C. §§

2201-02 .




                                      3
       Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 4 of 10




         IV. COVERAGE

8 . At all material times during the last three years, Defendant was an

enterprise covered by the FLSA, and as defined by 29 U .S.C. § 203(r) and

203(s).

9 . At all material times during the last three years, Defendant was an

employer as defined by 29 U.S .C . § 203(d) .

10. At all material times, Defendant has been an enterprise engaged in

commerce or in the production of goods for commerce within the meaning

of § 3(s)(1) of the Act, in that said enterprise has had employees engaged in

commerce or in the production of goods for commerce, or employees

handling, selling, or otherwise working on goods or materials that have been

moved in or produced for commerce by any person and in that said

enterprise has had and has an annual gross volume of sales made or business

done of not less than $500,000 (exclusive of excise taxes at the retail level

which are separately stated) .

11 .      As part of its regular and recurring business activities, Defendant

ordered and used goods and materials such as lumber, heavy-equipment,




                                       4
   Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 5 of 10




vehicles, plumbing supplies, paper, chec ks, telephones, co mputers, pe ncils,

pens, gasoline, etc . that have previously moved through commerce .

        V. FAC T UA L ALLEGATIONS

12 . Defendant provides construction services to various customers

nationwide .

13 . Defendant has offices and provides its construction services in

several states including Georgia, Virginia, North Carolina, and Florida .

14 . Plaintiff, KEVIN KIMMEL, was employed by Defendant as a

construction superintendent from approximately March 1998 through May

2008.

15 . Plaintiff, RALPH KEYES, was employed by Defendant as a

construction superintendent for approximately twenty-one (21) years

through May 2008.

16 . Plaintiffs, and those similarly situated to them, were paid weekly

salary in exchange for work performed .

17. Plaintiffs and those similarly situated to them, routinely worked in

excess of forty (40) hours per week as part of their regular job duties .

18 . Plaintiffs' primary job duty involved non-exempt job duties .




                                        5
   Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 6 of 10




19 . Plaintiffs' were primarily responsible for performing quality control

work and ensuring that the construction work performed by subcontractors

complied with specifications .

20. Despite working more than forty (40) hours per week, Defendant

failed to pay Plaintiffs, and those similarly situated to them, overtime

compensation at a rate of time and a half their regular rate of pay for hours

worked over forty in a workweek.

21 . Defendant has employed and is employing other individuals as

construction superintendents who perform(ed) the same or similar job duties

under the same pay provision as Plaintiffs and the class members .

       VI. COLLECTIVE ACTION ALL EGATIONS

22. Plaintiffs and the class members performed the same or similar job

duties as one another in that they provided construction services for

Defendant .

23. Further, Plaintiffs and the class members were subjected to the same

pay provisions in that they were paid a salary and not compensated at time-

and-one-half for all hours worked in excess of 40 hours in a workweek .

24 . Thus, the class members are owed overtime wages for the same

reasons as Plaintiffs .




                                      6
       Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 7 of 10




25 .      Defendant's failure to compensate employees for hours worked in

excess of 40 hours in a workweek as required by the FLSA results from a

policy or practice of failure to assure that construction superintendents are

paid for overtime hours worked based on the Defendant's erroneous

misclassification of its construction superintendents as exempt from

overtime .

26. This policy or practice was applicable to Plaintiffs and the class

members. Application of this policy or practice does not depend on the

personal circumstances of Plaintiffs or those joining this lawsuit . Rather, the

same policy or practice which resulted in the non-payment of overtime to

Plaintiffs applies to all class members and was formed without regard to

their individual circumstances . Accordingly, the class members are properly

defined as :

         All construction superintendents who worked at
         Defendant's construction sites nationwide within the last
         three years who were not compensated at time-and-one-half
         for all hours worked in excess of 40 hours in a workweek

27 . Defendant knowingly, willfully, or with reckless disregard carried out

its illegal pattern or practice of failing to pay overtime compensation with

respect to Plaintiffs and the class members .
   Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 8 of 10




28 . Defendant did not act in good faith or reliance upon any of the

following in formulating its pay practices : (a) case law, (b) the FLSA, 29

U.S .C. § 201, et seq., (c) Department of Labor Wage & Hour Opinion

Letters or (d) the Code of Federal Regulations .

29 . During the relevant period, Defendant violated § 7(a)(1) and §

15(a)(2), by employing employees in an enterprise engaged in commerce or

in the production of goods for commerce within the meaning of the FLSA as

aforesaid, for one or more workweeks without compensating such

employees for their work at a rate of at least the time-and-one-half for all

hours worked in excess of 40 hours in a work week .

30 . Defendant did not maintain and keep accurate time records as

required by the FLSA for Plaintiffs .

31 . Also, Defendant failed to post required FLSA informational listings

as required by law .

32 . As a result of Defendant's willful violation of the FLSA, Plaintiffs

are entitled to liquidated damages.

33 . Defendant has acted willfully in failing to pay Plaintiffs and the class

members in accordance with the law .




                                        s
   Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 9 of 10




      VII. RELI EF SOUGHT

      Wherefore, Plaintiffs demand an order awarding :

      (a) payment of their, and all class members, overtime wages at the

correct rate pursuant to 29 U .S .C. § 207(a)(1) ;

      (b)    an equal amount of liquidated damages pursuant to 29 U .S .C. §

216(b) or in the alternative pre judgment and post judgment interest at the

highest rate allowed by law ;

       (c) declaratory relief pursuant to the DJA and FLSA finding that

construction superintendents who worked at construction sites within the last

three years were not paid overtime compensation at a rate of time-and-one-

half for all hours worked as required by the Act :

       (d)    reasonable attorneys' fees and costs for all time worked by the

attorneys of Morgan & Morgan in prosecuting this case pursuant to 29

U.S .C. § 216(b) ;

       Plaintiffs also demand a trial by jury.




                                         9
  Case 1:10-cv-01388-RLV Document 1 Filed 05/07/10 Page 10 of 10




Dated this'1~~ay of May, 2010 .




                                  Veirdre M . t hens Johnson, Esquire
                                   GABN 678 9
                                   Morgan & Morgan, P .A.
                                  191 Peachtree St. NE, Ste . 4200
                                  Atlanta, GA 30303
                                  Telephone : (404) 965-8811
                                  Facsimile: (404) 965-8812
                                  Email :diohnson@ forthepeople .com
                                  Attorneys for Plaintiff




                                  10
